Case 2:23-cv-16873-MCA-MAH             Document 60       Filed 06/11/24      Page 1 of 18 PageID: 331




  Sills Cummis & Gross P.C.
  Joseph B. Shumofsky
  Linxuan Yan
  One Riverfront Plaza
  Newark, New Jersey 07102
  (973) 643-7000

  Marcus Neiman Rashbaum & Pineiro LLP
  Jeffrey A. Neiman (admitted pro hac vice)
  Kathryn Meyers (admitted pro hac vice)
  Jason L. Mays (admitted pro hac vice)
  One Financial Plaza
  100 SE 3rd Ave., Suite 805
  Fort Lauderdale, Florida 33394
  (954) 462-1200

  Attorneys for Plaintiff Nina Agdal

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


   NINA AGDAL,                                     Case No.: 2:23-CV-16873-MCA-MAH

                    Plaintiff,

   v.

   DILLON DANIS,

                   Defendant.


    VERIFIED SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff Nina Agdal (“Plaintiff” or “Agdal”), by and through undersigned counsel, files

  this Verified Second Amended Complaint and Demand for Jury Trial against Defendant Dillon

  Danis (“Defendant” or “Danis”), in which she seeks to hold him accountable for (1) unlawfully

  posting a nonconsensual, sexually explicit photograph of her on the internet without her consent,

  in violation of both federal and state law, and (2) defaming her and placing her in a false light as


                                                    1
Case 2:23-cv-16873-MCA-MAH             Document 60        Filed 06/11/24       Page 2 of 18 PageID: 332




  a result of his publication on social media of the false claim that she has HIV. As grounds for her

  Verified Second Amended Complaint, Plaintiff alleges as follows:

                                     NATURE OF THE ACTION

         1.      Plaintiff Nina Agdal brings this action against Defendant Dillon Danis for

  violations of the federal revenge porn statute, the 2022 Violence Against Women Act

  Reauthorization, 15 U.S.C. § 6851, and for invasion of privacy pursuant to N.J. Stat. § 2A:58D-

  1, based on his unauthorized disclosure of a nonconsensual, sexually explicit photograph of

  Plaintiff, depicting full frontal nudity, to millions of social media users in the course of a

  relentless, ongoing campaign of cyber harassment and bullying against her. Plaintiff also asserts

  claims against Danis for defamation and false light as a result of his false claim on social media

  that she has HIV.

         2.      Starting in early August 2023 and continuing into the present, Danis has been

  using his X (formerly Twitter) and Instagram accounts to harass Plaintiff as part of a feud with

  Plaintiff’s fiancé, non-party Logan Paul, whom Danis is scheduled to face in a highly publicized

  boxing match in October 2023.

         3.      As of the filing of this Complaint, Danis has attacked Plaintiff through hundreds

  of posts containing vulgar and disparaging pictures, memes, and comments about her. In one

  instance that gives rise to claims asserted in this Complaint, Danis obtained and posted on his X

  account, without authorization, a sexually explicit photograph of Plaintiff that was taken and

  shared, without her consent, during a romantic encounter with a non-party more than a decade

  ago.

         4.      Danis’s despicable conduct has caused Plaintiff to suffer humiliation, emotional

  distress, and reputational harm. All the while, Danis has been rewarded for that same conduct




                                                     2
Case 2:23-cv-16873-MCA-MAH            Document 60       Filed 06/11/24     Page 3 of 18 PageID: 333




  through an increased social media following and publicity that has resulted in his offensive posts

  being viewed more than two billion times to date.

         5.      Plaintiff seeks to hold Danis accountable for the harm she has suffered as a result

  of Danis’s unlawful conduct, for which Danis is not only unapologetic, but which he has publicly

  expressed his intent to continue.

                                           THE PARTIES

         6.      Plaintiff Nina Agdal is an individual who resides in New York and the

  Commonwealth of Puerto Rico. Agdal is a highly successful Danish model.

         7.      Agdal is the fiancée of non-party Logan Paul (“Paul”), a prominent social media

  influencer and content creator, World Wrestling Entertainment wrestler, boxer, and entrepreneur.

         8.      Defendant Dillon Danis is an individual who resides in Jersey City, New Jersey.

  Danis is a mixed martial artist and boxer.

                                  JURISDICTION AND VENUE

         9.      The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

  § 1331 because this action arises under the laws of the United States and pursuant to 28 U.S.C.

  § 1332 because this action is between citizens of different states and the amount in controversy

  exceeds $75,000, exclusive of interest and costs. The Court also has supplemental jurisdiction

  over the state law claim pursuant to 28 U.S.C. § 1367.

         10.     The Court has personal jurisdiction over Defendant Dillon Danis because he

  resides in New Jersey.

         11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1).




                                                  3
Case 2:23-cv-16873-MCA-MAH             Document 60        Filed 06/11/24       Page 4 of 18 PageID: 334




                                     GENERAL ALLEGATIONS

         12.     In early August 2023, it was publicly announced that Defendant Dillon Danis and

  Plaintiff’s fiancé, Logan Paul, would be squaring off in a boxing match in Manchester, England,

  on October 14, 2023.

         13.     Since the announcement, Danis has used social media to “promote” the fight and

  ramp up his feud with Paul.

         14.     Danis has engaged in this online feud primarily through X (formerly Twitter),

  where he maintains an account with the handle (i.e., username) @dillondanis, and through

  Instagram, where he has the same username.

                       Danis’s Cyber Harassment Campaign Against Plaintiff

         15.     Notwithstanding that Plaintiff has never met, spoken to, or interacted with Danis,

  Danis nevertheless has made Plaintiff the primary target of his attacks against Paul.

         16.     Danis has used his social media accounts to make hundreds of crude posts about

  Plaintiff, most of which either explicitly call Plaintiff a “whore,” a “slut,” or a similarly

  disparaging label, or otherwise use memes and pictures (many of which have been altered) to

  convey the same message. As of the filing of this Complaint, Danis has posted about Plaintiff

  more than 250 times across his X and Instagram accounts since August 9, 2023.

         17.     In one X post on August 22, 2023, for example, Danis wrote, “I just saw 20 guys

  go into [Plaintiff’s] room at the fighter hotel,” intimating that Plaintiff would have sex with 20

  men at the same time.

         18.     Similarly, in another X post on August 15, 2023, Plaintiff’s face had been pasted

  into an image with five men for the same reason.




                                                     4
Case 2:23-cv-16873-MCA-MAH            Document 60         Filed 06/11/24      Page 5 of 18 PageID: 335




          19.    In other posts, Danis included pictures that had been Photoshopped or otherwise

  altered to make it appear as though Plaintiff and Danis had been photographed together. Danis

  then added text to suggest that he and Plaintiff have had a sexual relationship.

          20.    In one such X post on August 20, 2023, Danis included a supposed picture of

  Plaintiff and himself, along with the text: “the one time i didn’t pull out.”

          21.    In another such X post on August 22, 2023, Danis posted another fake picture of

  Plaintiff and himself, this time with the text, “Logan threw a tantrum & left the arena before our

  face off so I did it with a real fighter who can go more than 6 rounds.”

          22.    Danis also has harassed Plaintiff through a series of X posts indecently

  speculating about the number and identities of her past sexual partners; distastefully joking about

  Plaintiff’s female anatomy given her supposed sexual history; and offensively suggesting Paul

  should “get checked” for sexually transmitted diseases that he may have contracted from

  Plaintiff.

          23.    Danis has continued these attacks offline, as well, disparaging and lying about

  Plaintiff verbally during the press conference for his fight with Paul and other interviews he has

  given since the fight was announced.

          24.    Although there are many pictures of Plaintiff in the public domain given her

  professional success and the media attention that has come with it, not all of the content Danis

  has used for his posts relating to Plaintiff had been publicly available prior to his posts.

          25.    On August 28, 2023, Danis posted a video of Plaintiff in which she briefly

  discussed her desire for intimacy during a period of celibacy.

          26.    While Plaintiff self-recorded that video more than six years ago, she never sent

  that private video recording to anyone, and it was stored deep in her Snapchat archive,




                                                    5
Case 2:23-cv-16873-MCA-MAH             Document 60       Filed 06/11/24     Page 6 of 18 PageID: 336




  suggesting Danis had hacked Plaintiff’s personal account or had obtained the private video from

  someone who had done so.

         27.       That private video now has been viewed more than 135 million times.

                    Danis’s Unlawful Disclosure of an Intimate Image of Plaintiff

         28.       Among Danis’s many offensive posts, at least one violated federal and state law

  and gives rise to the claims asserted in this Complaint.

         29.       In the course of a romantic encounter that Plaintiff had with a non-party more

  than ten years ago, the non-party took a sexually explicit photograph of Plaintiff without her

  consent.

         30.       By August 11, 2023, Danis had come into possession of that explicit photograph

  of Plaintiff that depicted full frontal nudity. On that day, Danis posted the photograph—entirely

  uncensored—from his X account @dillondanis, without Plaintiff’s consent.

         31.       After posting the explicit photograph from his @dillondanis account, Danis

  logged into another X account of his that is not publicly tied to his name—@mmaomally23—

  and reposted the post containing the explicit photograph. Danis captioned it “Dillon’s post from

  this morning.”

         32.       Later that same day, Danis then logged back into his @dillondanis account and

  reposted his @mmaomally23 post.

         33.       Each of Danis’s reposts—i.e., first from his @mmaomally23 account and then

  from his @dillondanis account—contained the explicit photograph. And that was the entire

  point: Danis’s reposts were made in order to draw more attention to the photograph and

  maximize the number of views it would receive.




                                                    6
Case 2:23-cv-16873-MCA-MAH            Document 60         Filed 06/11/24    Page 7 of 18 PageID: 337




            34.   At some point thereafter, Danis reluctantly deleted his posts containing the

  photograph. Misfits Boxing, the promoter of Danis’s fight with Paul, directed Danis to delete the

  posts and threatened to cancel the fight unless he complied.

            35.   By the time the posts were deleted, they had been viewed hundreds of thousands,

  if not millions, of times, and had been saved and re-shared an untold number of times.

            36.   Danis has carried out the conduct described in this Complaint—including the

  posting of the explicit photograph of Plaintiff—willfully. He has described his conduct as fight

  promotion related to his feud with Paul, expressing in X posts on August 12 and August 16,

  2023, respectively, that he has been “carrying the whole card’s [i.e., the fight’s] promotion on my

  back” and that “without my touch, this whole thing is just a mind-numbing snooze-fest.”

            37.   Not only has Danis bragged about preying upon Plaintiff in this manner, but he

  also has celebrated and posted about the increased popularity he has enjoyed on social media as a

  result of his conduct.

            38.   In the time since he began his harassment campaign against Plaintiff on or about

  August 9, 2023, Danis’s X followers have more than doubled from approximately 340,000 to

  more than 850,000 as of the filing of this Complaint.

            39.   Underscoring the harm that Danis’s abusive conduct has caused Plaintiff, since

  Danis first posted about Plaintiff in early August 2023, Danis’s posts on X—most of which have

  been about Plaintiff—have collectively been viewed more than two billion times. Indeed, for the

  four-week period ending August 29, 2023—i.e., since he started harassing Plaintiff—Danis’s

  post “impressions” (i.e., views) on X increased by more than 12,200% from the prior four-week

  period.




                                                   7
Case 2:23-cv-16873-MCA-MAH              Document 60      Filed 06/11/24      Page 8 of 18 PageID: 338




         40.     On August 18, 2023, X temporarily locked Danis’s account because of his posts

  about Plaintiff. Specifically, X locked Danis’s account for “[v]iolating [its] rules against posting

  or sharing privately produced/distributed intimate media of someone without their express

  consent.”

         41.     On several other occasions, X “shadow banned” Danis’s account because of those

  posts, meaning X temporarily limited the exposure of his posts by, for example, making them not

  show up in users’ searches or feeds.

         42.     Rather than stop his harassment of Plaintiff, however, on those occasions Danis

  simply invited his followers to join him on Instagram, where he has more than two million

  followers, and where his harassment of Plaintiff continued until X lifted the suspension or the

  ban.

         43.     Instagram has since removed a number of Danis’s posts for violating its anti-

  bullying and harassment policies.

         Danis Threatens the Further Unlawful Disclosure of Plaintiff’s Intimate Images

         44.     Danis has indicated that he possesses additional pictures of Plaintiff of an explicit,

  sexual nature and has been threatening the potential public release of those pictures.

         45.     On August 20, 2023, Danis posted on X that he possessed a picture of Plaintiff

  that was “like a nuclear bomb; the damage it would do would be irreparable.” Danis said that, if

  he posted the picture, it would “end the fight, end [Paul’s] engagement [to Plaintiff], and [he]

  might even find [himself] in jail.”

         46.     In a post two days later, on August 22, 2023, Danis said, “if we hit 2 million on

  my instagram I’ll drop the picture.”




                                                   8
Case 2:23-cv-16873-MCA-MAH             Document 60        Filed 06/11/24       Page 9 of 18 PageID: 339




          47.     On August 27, 2023, Danis posted on X, “I just got another absolute nuke of a pic

  of [Plaintiff] this one might be worse than the other one wow this girl is actually wild. Logan on

  a man level you need to call this marriage off now.”

          48.    In another post that day, Danis said that if he posts the pictures, “the fight will be

  called off and I’ll be sued.”

          49.    Then, in an X post on August 28, 2023, Danis wrote: “Like this if I should

  schedule the pic to be posted on my walk to the ring?”

          50.    In an X post on September 2, 2023, Danis wrote: “These are so bad, I would

  definitely get sued, go to jail, and be [sic] fight would be off. But I might just say fuck it”.

  (emphasis added)

          51.    Danis’s posts, retweets, and other public conduct also indicate he already has

  shared those pictures with others.

          52.    On August 20, 2023, a former professional kickboxer named Andrew Tate

  responded to one of Danis’s posts on X, noting that Danis had sent him one of the pictures.

          53.    On September 3, 2023, Danis joined popular live streamer Adin Ross on a live

  stream, during which Danis purported to show Ross one of the pictures, and then questioned the

  consequences of potentially sharing it publicly. Danis asked if the fight would be canceled if he

  posted it, to which Ross responded, “Definitely, like that’s too far.”

                         Danis’s Acknowledgement of His Unlawful Conduct

          54.    Danis appeared to acknowledge the illegality of his conduct in sharing explicit

  photographs of Plaintiff while being interviewed for the “Full Send Podcast” on August 16,

  2023.




                                                     9
Case 2:23-cv-16873-MCA-MAH              Document 60        Filed 06/11/24       Page 10 of 18 PageID:
                                              340



        55.     During that interview, Danis expressed to one of the podcast hosts: “If you dated

 [Plaintiff], right, and you sent me a picture of her naked in bed, that’s, that’s like illegal—that’s

 defamation of character.” (emphasis added)

        56.     Still, Danis attempted to justify the scope of his conduct, saying “[Paul] knows

 what he’s signing up for. . . . This is me and him going to, like, murder each other. You saw

 [unintelligible] about stomping my head in in front of my family, so I can’t go at his wife’s tits?

 Come on, relax. . . .” (emphasis added)

        57.     Regardless of his purported justification, Danis’s conduct alleged in this

 Complaint was not about Paul; it was about Plaintiff.

      Danis Defames Plaintiff and Places Her in a False Light by Claiming She Has HIV
        58.     Rather than stop his harassment of Plaintiff after this lawsuit was filed, Danis

 instead expanded the nature of his unlawful attacks and continued posting about Plaintiff,

 including a false post about Plaintiff’s HIV status.

        59.     In an X post on September 14, 2023, Danis responded to another post and wrote,

 “I have a better idea fuck [Plaintiff] the night before the fight [and] give myself HIV.”

        60.     Any statement or suggestion that Plaintiff has HIV is false.

                Danis’s Unlawful Conduct Has Caused Plaintiff Substantial Harm

        61.     By posting the explicit photograph without Plaintiff’s consent, and by defaming

 Plaintiff and placing her in a false light by lying about her HIV status, Danis has caused Plaintiff

 significant harm, including but not limited to emotional distress, reputational harm,

 embarrassment, and stress and anxiety over threatened future posts of a similar nature.

        62.     Plaintiff brings this lawsuit to hold Danis accountable for that harm.




                                                   10
Case 2:23-cv-16873-MCA-MAH             Document 60        Filed 06/11/24       Page 11 of 18 PageID:
                                             341



                                       CAUSES OF ACTION

                                             COUNT I
                              (violation of 15 U.S.C. § 6851(b)(1)(A))
                                   (disclosure of intimate image)

        63.     Plaintiff restates and realleges Paragraphs 1–62 as though fully stated herein.

        64.     On or about August 11, 2023, Defendant posted a sexually explicit photograph of

 Plaintiff, depicting full frontal nudity, from his X account @dillondanis.

        65.     The photograph was an “intimate visual depiction” within the meaning of 15

 U.S.C. § 6851(a)(5) because it depicted the type of nudity described in that provision.

        66.     By posting the photograph, Defendant “disclosed” it within the meaning of 15

 U.S.C. § 6851(a)(4) because he published, distributed, and made it accessible to others.

        67.     Moreover, because Defendant posted the photograph on the internet, his

 disclosures were made using a means of interstate commerce.

        68.     Defendant knew or recklessly disregarded that his disclosures were made without

 Plaintiff’s consent.

        69.     Pursuant to 15 U.S.C. § 6851(b)(3)(A)(ii), Plaintiff is entitled to an order

 enjoining Defendant from disclosing intimate visual depictions of Plaintiff.

        70.     Pursuant to 15 U.S.C. § 6851(b)(3)(A)(i), Plaintiff also is entitled to recover from

 Defendant the actual damages she has sustained as a result of Defendant’s conduct, in an amount

 to be determined at trial, but not less than $150,000 per violation of the statute, in addition to her

 reasonable attorney’s fees and other litigation costs incurred in bringing this action. Plaintiff also

 seeks additional damages, including punitive damages, to the extent permitted by law.




                                                   11
Case 2:23-cv-16873-MCA-MAH             Document 60        Filed 06/11/24       Page 12 of 18 PageID:
                                             342



                                             COUNT II
                              (violation of 15 U.S.C. § 6851(b)(1)(A))
                               (second disclosure of intimate image)

        71.     Plaintiff restates and realleges Paragraphs 1–62 as though fully stated herein.

        72.     On or about August 11, 2023, Defendant reposted from his X account

 @mmaomally23 a sexually explicit photograph of Plaintiff, depicting full frontal nudity, which

 he had previously posted from his X account @dillondanis.

        73.     The photograph that was reposted was an “intimate visual depiction” within the

 meaning of 15 U.S.C. § 6851(a)(5) because it depicted the type of nudity described in that

 provision.

        74.     By reposting the photograph, Defendant “disclosed” it within the meaning of 15

 U.S.C. § 6851(a)(4) because he published, distributed, and made it accessible to others.

        75.     Moreover, because Defendant reposted the photograph on the internet, his

 disclosures were made using a means of interstate commerce.

        76.     Defendant knew or recklessly disregarded that his disclosures were made without

 Plaintiff’s consent.

        77.     Pursuant to 15 U.S.C. § 6851(b)(3)(A)(ii), Plaintiff is entitled to an order

 enjoining Defendant from disclosing intimate visual depictions of Plaintiff.

        78.     Pursuant to 15 U.S.C. § 6851(b)(3)(A)(i), Plaintiff also is entitled to recover from

 Defendant the actual damages she has sustained as a result of Defendant’s conduct, in an amount

 to be determined at trial, but not less than $150,000 per violation of the statute, in addition to her

 reasonable attorney’s fees and other litigation costs incurred in bringing this action. Plaintiff also

 seeks additional damages, including punitive damages, to the extent permitted by law.




                                                   12
Case 2:23-cv-16873-MCA-MAH             Document 60        Filed 06/11/24       Page 13 of 18 PageID:
                                             343



                                             COUNT III
                              (violation of 15 U.S.C. § 6851(b)(1)(A))
                                (third disclosure of intimate image)

        79.     Plaintiff restates and realleges Paragraphs 1–62 as though fully stated herein.

        80.     On or about August 11, 2023, Defendant reposted from his X account

 @dillondanis a sexually explicit photograph of Plaintiff, depicting full frontal nudity, which he

 had previously posted from his X account @dillondanis and reposted from his X account

 @mmaomally23.

        81.     The photograph that was reposted was an “intimate visual depiction” within the

 meaning of 15 U.S.C. § 6851(a)(5) because it depicted the type of nudity described in that

 provision.

        82.     By reposting the photograph, Defendant “disclosed” it within the meaning of 15

 U.S.C. § 6851(a)(4) because he published, distributed, and made it accessible to others.

        83.     Moreover, because Defendant reposted the photograph on the internet, his

 disclosures were made using a means of interstate commerce.

        84.     Defendant knew or recklessly disregarded that his disclosures were made without

 Plaintiff’s consent.

        85.     Pursuant to 15 U.S.C. § 6851(b)(3)(A)(ii), Plaintiff is entitled to an order

 enjoining Defendant from disclosing intimate visual depictions of Plaintiff.

        86.     Pursuant to 15 U.S.C. § 6851(b)(3)(A)(i), Plaintiff also is entitled to recover from

 Defendant the actual damages she has sustained as a result of Defendant’s conduct, in an amount

 to be determined at trial, but not less than $150,000 per violation of the statute, in addition to her

 reasonable attorney’s fees and other litigation costs incurred in bringing this action. Plaintiff also

 seeks additional damages, including punitive damages, to the extent permitted by law.




                                                   13
Case 2:23-cv-16873-MCA-MAH               Document 60      Filed 06/11/24     Page 14 of 18 PageID:
                                               344



                                            COUNT IV
                                (violation of N.J. Stat. § 2A:58D-1)
                                        (invasion of privacy)

        87.     Plaintiff restates and realleges Paragraphs 1–62 as though fully stated herein.

        88.     On or about August 11, 2023, Defendant posted a sexually explicit photograph of

 Plaintiff, depicting full frontal nudity, from his X account.

        89.     The photograph was an “image of another person whose intimate parts [were]

 exposed” within the meaning of N.J. Stat. § 2A:58D-1 because it depicted the type of nudity

 described in N.J. Stat. § 2C:14-1(e).

        90.     By posting the image, and then by later reposting it, Defendant “reproduced”

 and/or “disclosed” it within the meaning of N.J. Stat. § 2A:58D-1(a)-(b) because he published it

 and made it available via the internet.

        91.     Defendant further claims to have presented and shared sexually explicit images of

 Plaintiff with non-parties Andrew Tate and Adin Ross.

        92.     Defendant’s posts, and his other conduct in sharing sexually explicit images of

 Plaintiff with others, were made without Plaintiff’s consent and under circumstances in which a

 reasonable person would not expect to be observed.

        93.     Defendant’s violative conduct was carried out with willful or reckless disregard of

 the law.

        94.     Pursuant to N.J. Stat. § 2A:58D-1(c), Plaintiff is entitled to an order enjoining

 Defendant from reproducing or disclosing sexually explicit images of Plaintiff.

        95.     Pursuant to N.J. Stat. § 2A:58D-1(c), Plaintiff also is entitled to recover from

 Defendant the actual damages she has sustained as a result of Defendant’s conduct, in an amount




                                                  14
Case 2:23-cv-16873-MCA-MAH             Document 60         Filed 06/11/24      Page 15 of 18 PageID:
                                             345



 to be determined at trial, as well as punitive damages, in addition to her reasonable attorney’s

 fees and other litigation costs incurred in bringing this action.

                                              COUNT V
                                             (Defamation)

         96.     Plaintiff restates and realleges Paragraphs 1–62 as though fully stated herein.

         97.     On September 14, 2023, Defendant made a post on his X account, through which

 he communicated to millions of social media users that Plaintiff has HIV.

         98.     Defendant’s post was false.

         99.     Defendant’s post was made with actual malice because it was made with reckless

 disregard for its truth.

         100.    Plaintiff is entitled to recover from Defendant the actual damages she has

 sustained as a result of Defendant’s conduct, in an amount to be determined at trial, as well as

 punitive damages.

                                              COUNT VI
                                             (False Light)

         101.    Plaintiff restates and realleges Paragraphs 1–62 as though fully stated herein.

         102.    On September 14, 2023, Defendant made a post on his X account that Plaintiff

 has HIV, which was circulated worldwide to millions of social media users.

         103.    Defendant’s post was false.

         104.    Defendant’s post was plainly of and concerning Plaintiff, and placed Plaintiff

 before the public in a false light that is highly offensive to a reasonable person.

         105.    Defendant had knowledge of or acted in reckless disregard as to the falsity of the

 post and the false light in which the Plaintiff would be placed.

         106.    As a direct and proximate result of Defendant’s publication of these false




                                                   15
Case 2:23-cv-16873-MCA-MAH              Document 60        Filed 06/11/24       Page 16 of 18 PageID:
                                              346



 statements, Plaintiff has incurred, is suffering and will continue to suffer damages.

                                   DEMAND FOR JURY TRIAL

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff respectfully

 demands a trial by jury for all issues so triable.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for a judgment in her favor and against Defendant and

 for the following relief:

         A. A finding that Defendant is liable to Plaintiff for violating 15 U.S.C. § 6851;

         B. A finding that Defendant is liable to Plaintiff for violating N.J. Stat. § 2A:58D-1;

         C. A finding that Defendant is liable to Plaintiff for defamation;

         D. A finding that Defendant is liable to Plaintiff for placing Plaintiff in a false light;

         E. A finding that Defendant’s conduct was carried out willfully or in reckless disregard
            of the law;

         F. An award of actual damages in an amount to be determined at trial, but not less than
            $150,000 per violation of 15 U.S.C. § 6851, pursuant to 15 U.S.C. § 6851(b)(3)(A)(i);

         G. An order requiring Defendant to disgorge any profits earned from his violations of 15
            U.S.C. § 6851 and N.J. Stat. § 2A:58D-1, and a corresponding award to Plaintiff in
            that amount;

         H. An award of punitive damages pursuant to N.J. Stat. § 2A:58D-1(c)(2);

         I. An award of pre- and post-judgment interest on any damages award;

         J. An award of reasonable attorney’s fees and costs;

         K. A temporary restraining order, preliminary injunction, and permanent injunction
            pursuant to 15 U.S.C. § 6851(b)(3)(ii) and N.J. Stat. § 2A:58D-1(c)(4) enjoining
            Defendant and all persons in active concert or participation with him from continuing
            to disclose sexually explicit photographs of Plaintiff without her consent and from
            disclosing materials depicting or portraying Plaintiff that he knows or has reason to
            believe were never meant to be shared publicly or were obtained without consent,
            through the hacking of any of Plaintiff’s accounts or devices, or through any other
            illegal unauthorized means; and


                                                      16
Case 2:23-cv-16873-MCA-MAH           Document 60       Filed 06/11/24        Page 17 of 18 PageID:
                                           347




        L. An award of such further relief that this Court deems just and proper.



 Dated: June 11, 2024                                Respectfully submitted,



                                                     SILLS CUMMINS & GROSS P.C.

                                                     /s/ Joseph B. Shumofsky

                                                     Joseph B. Shumofsky
                                                     New Jersey Bar No. 045211998
                                                     jshumofsky@sillscummis.com
                                                     Linxuan Yan
                                                     New Jersey Bar No. 401192022
                                                     lyan@sillscummis.com

                                                     One Riverfront Plaza
                                                     Newark, NJ 07102
                                                     Telephone: (973) 643-7000
                                                     Facsimile: (973) 643-6500


                                                     MARCUS NEIMAN RASHBAUM
                                                     & PINEIRO LLP

                                                     /s/ Jeffrey A. Neiman

                                                     Jeffrey A. Neiman (Fl. Bar. No. 544469)
                                                     jneiman@mnrlawfirm.com
                                                     Admitted Pro Hac Vice
                                                     Kathryn Meyers (Fl. Bar No. 711152)
                                                     kmeyers@mnrlawfirm.com
                                                     Admitted Pro Hac Vice
                                                     Jason L. Mays (Fl.) Bar. No. 106495
                                                     jmays@mnrlawfirm.com
                                                     Admitted Pro Hac Vice

                                                     100 Southeast Third Avenue, Suite 805
                                                     Fort Lauderdale, FL 33394
                                                     Telephone: (954) 462-1200
                                                     Facsimile: (954) 688-2492

                                                     Counsel for Plaintiff Nina Agdal


                                                17
Case 2:23-cv-16873-MCA-MAH   Document 60   Filed 06/11/24   Page 18 of 18 PageID:
                                   348
